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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

                   Plaintiff,                   Civil Case No. 20-2935

             v.                                 Honorable Colleen Kollar-Kotelly

STEPHANIE WINSTON WOLKOFF,

                   Defendant.




          MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT
  STEPHANIE WINSTON WOLKOFF’S MOTION TO DISMISS THE COMPLAINT




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Dated: December 21, 2020
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                                        INTRODUCTION

       This lawsuit is a meritless attempt by Melania and Donald Trump to improperly enlist the

United States Department of Justice (the “DOJ” or “Government”) to pursue entirely personal

goals and interests.

       The Complaint should be dismissed because the Gratuitous Services Agreement (the

“Agreement”) at issue terminated on February 20, 2018, prior to any of the conduct challenged in

the Complaint. The Agreement did not provide for post-termination survival of any of the

confidentiality provisions on which the Government seeks to rely. Where, as here, a contract does

not specify that an obligation survives termination, the law will not impose an indefinite term.

Accordingly, the Complaint should be dismissed because the Agreement terminated more than

two years before any of the alleged violations and there is therefore no basis to claim that Ms.

Wolkoff failed to comply with any contractual obligation.

       The Complaint also should be dismissed because the Agreement lacked consideration and

was therefore invalid and unenforceable. In addition, the Complaint should be dismissed because

the restrictive provisions relied upon by the Government are unconstitutional and violate Ms.

Wolkoff’s First Amendment right to freedom of expression.

                                         BACKGROUND

       Following the 2016 presidential election, Stephanie Winston Wolkoff helped design and

oversee several events in connection with President Trump’s inauguration in January 2017.1 Ms.




1
    See Emily Heil, Reported inauguration advisor Stephanie Winston Wolkoff is known for glam
    events, WASH. POST (Nov. 23, 2016), https://www.washingtonpost.com/news/reliable-
    source/wp/2016/11/23/reported-inauguration-adviser-stephanie-winston-wolkoff-is-known-
    for-glam-events/; see also Fed. R. Evid. 201(b) (allowing courts to take judicial notice of facts
    that are “generally known” or that can be “accurately and readily determined from sources
    whose accuracy cannot reasonably be questioned”).


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Wolkoff was offered this role because of her extensive experience as an industry-leading event

coordinator (including for such high-profile events as the Met Gala), and because she was a close

friend of then-incoming First Lady Melania Trump for more than a decade.2

       Following the inauguration, Ms. Wolkoff agreed to stay on and help Mrs. Trump, including

by advising on staffing decisions and initiatives, though she had no formal role or title. See Compl.

¶ 19. Ms. Wolkoff agreed to volunteer for this effort out of a sense of civic duty and a desire to

help her close friend. The White House later formalized Ms. Wolkoff’s relationship with the

Office of the First Lady by requiring that she sign a “Gratuitous Services Agreement” (the

“Agreement”), which she did on August 21, 2017. Compl. ¶ 20; Compl. Ex. A.

       The Agreement specified that Ms. Wolkoff was merely a “volunteer,” not a government

employee, and that she would offer services “without the expectation of receiving any

compensation . . . .” Compl. Ex. A ¶ I. Although Ms. Wolkoff received “access to the White

House complex and equipment” and “email systems,” Compl. Ex. A ¶¶ X, XIII, that access was

provided specifically in exchange for Ms. Wolkoff’s agreement to release the United States from

any and all claims and to protect the security of certain accessed information. Id. The allegation

in the Complaint that Ms. Wolkoff received additional consideration in the form of a “personal

and professional opportunity,” Compl. ¶ 24, is inconsistent with the express terms of the

Agreement.

       The Agreement also contained extraordinarily broad and vague confidentiality provisions,

which purported to prohibit Ms. Wolkoff from disclosing, among other things, “any and all

information furnished to [her] by the Government . . . , information about the First Family, or other

information about which [she] may become aware during the course of performance.” Compl. Ex.



2
    See id.


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A ¶ V. The confidentiality provisions also purported to bar Ms. Wolkoff from disclosing “the

contents of this Agreement, or [her] work with . . . [the Office of the First Lady] . . . .” Compl.

Ex. A ¶ VII.

       The Agreement did not specify, however, any set term for the confidentiality provisions,

nor did the Agreement contain any language indicating that any provision would survive

termination of the Agreement. Compl. ¶ 21; see generally, Compl. Ex. A. By contrast, as the

Complaint acknowledges, the Agreement did specify that September 30, 2018 was the latest date

at which certain other provisions—like Section I indicating Ms. Wolkoff’s lack of compensation

and employment status—would terminate. Compl. ¶ 21; see also Compl. Ex. A ¶ I. Moreover,

the Agreement specified that it could “be discontinued at any time and for any reason by [Ms.

Wolkoff] or at the sole discretion of [the First Lady],” Compl. Ex. A ¶ XVIII, and the White House

did just that, terminating the Agreement on February 20, 2018. See Compl. ¶ 31.

       Notably, the Government does not—and cannot—allege that Ms. Wolkoff has had

any contractual, agency, or other formal relationship with the First Lady or the government since

the February 2018 termination. The Complaint also specifies that the alleged violations occurred

no earlier than July 2020, approximately 29 months after termination of the Agreement. See

Compl. ¶¶ 32–34.     In July 2020, Ms. Wolkoff received a demand letter from an attorney

purporting to represent Mrs. Trump personally. After deficiencies in the theory asserted in

that letter were identified by counsel for Ms. Wolkoff, the DOJ subsequently delivered its own

demand letter, to which Ms. Wolkoff’s counsel responded by pointing out fundamental legal and

factual deficiencies in the Government’s position.       See Compl. ¶¶ 32–33.       Despite these

deficiencies, the Government subsequently brought this lawsuit.




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                                     LEGAL STANDARDS

       The Complaint must be dismissed under Rule 12(b)(6) of the Federal Rules of Civil

Procedure for failure to state a claim if, taking the well-pleaded factual allegations as true, the

Government has failed to show that its claim for relief is plausible on its face. See Bell Atl. Corp.

v. Twombly, 550 U.S. 544, 555–56 (2007); Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009). A “court

need not accept inferences drawn by plaintiffs if such inferences are unsupported by the facts set

out in the complaint.” Kowal v. MCI Commc’ns Corp., 16 F.3d 1271, 1276 (D.C. Cir. 1994).

Further, “[i]n interpreting contracts between private parties and the United States, courts apply

federal common law.” United States v. Bolton, 2020 WL 5866623, at *4 (D.D.C. Oct. 1, 2020)

(citation omitted). The federal common law of contracts “‘dovetails . . . with general principles of

contract law,’ including those set out in the Restatement (Second) of the Law of Contracts.” See

id. (quoting NRM Corp. v. Hercules, Inc., 758 F.2d 676, 681 (D.C. Cir. 1985)).

                                          ARGUMENT

       The Complaint should be dismissed for three independent reasons: (i) the Government has

no proper basis on which to claim that Ms. Wolkoff violated the Agreement, which terminated

more than two years before the challenged conduct; (ii) the Agreement is void for lack of

consideration; and (iii) the vague and overbroad confidentiality restrictions in the Agreement

violate Ms. Wolkoff’s First Amendment right to freedom of expression.

I.     The Agreement Terminated Before Any Alleged Violation

       The Government cannot properly assert a breach of contract claim arising out of the

Agreement because it terminated more than two years before any alleged breach, and the

Agreement did not provide for the confidentiality provisions to survive termination of the

Agreement. In addition, to the extent any ambiguity exists with respect to the post-termination




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survival of the confidentiality provisions, that ambiguity must be construed against the

Government.

       A.      The Agreement Did Not Provide For Post-Termination Survival of the
               Confidentiality Provisions

       The Complaint should be dismissed because the confidentiality provisions of the

Agreement did not survive termination. There is no dispute that the Agreement was terminated on

February 20, 2018. See Compl. ¶ 31. The Complaint does not offer any facts to support the

Government’s baseless allegation that the confidentiality provisions survived termination of the

Agreement. See Compl. ¶ 48.

       Where a contract fails to specify that confidentiality provisions survive termination of the

contract, the confidentiality provisions terminate at the same time as the contract. See Howard

Town Ctr. Dev., LLC v. Howard Univ., 7 F. Supp. 3d 64, 87 n.18 (D.D.C. 2013) (statements

allegedly in violation of confidentiality provision published after termination of agreement not

actionable), vacated on other grounds, 788 F.3d 321 (D.C. Cir. 2015); All W. Pet Supply Co. v.

Hill's Pet Prod. Div., Colgate-Palmolive Co., 840 F. Supp. 1433, 1439 (D. Kan. 1993), amended,

842 F. Supp. 1376 (D. Kan. 1994) (“contractual duty . . . to maintain the confidentiality of the

customer information provided under the terms of the agreement . . . terminated as of [the

termination date of the contract].”); Barton d/b/a Sterling Worldwide v. Concept Lab’ys, Inc., 2010

WL 502831, at *3 (W.D.N.Y. Feb. 10, 2010) (contracts that do not specify term of obligations

“will not be construed to provide for perpetual performance”) (internal quotation marks and

citations omitted).

       The Agreement here did not provide for post-termination survival of the confidentiality

provisions, but did permit either party to terminate the Agreement in its entirety at any time.

Accordingly, based on the allegations of the Complaint and the unambiguous terms of the



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Agreement, any duties imposed on Ms. Wolkoff by the Agreement ceased more than two years

before the challenged conduct, when the Agreement was terminated by the White House. For this

reason alone, the Complaint should be dismissed.

       B.      Any Ambiguity in the Agreement Regarding Post-Termination Survival of the
               Confidentiality Provisions Must Be Construed Against the Government

       Even if there were ambiguity with respect to post-termination survival of the Agreement’s

confidentiality provisions (which there is not), applicable common law principles of contract

interpretation require that the provisions be construed against the Government as the Agreement’s

drafter. See United States v. Bolton, 2020 WL 5866623, at *8 (D.D.C. Oct. 1, 2020) (citing 11

WILLISTON ON CONTRACTS § 32:12 (4th ed.) (Nov. 2020)); see also Deutsche Bank Nat’l Tr. Co.

v. FDIC, 109 F. Supp. 3d 179, 211 (D.D.C. 2015) (construing ambiguous agreement against

government agency that drafted it); Mesa Air Grp., Inc. v. Dep’t of Transp., 87 F.3d 498, 506 (D.C.

Cir. 1996) (same).

       The Agreement here was drafted by the White House to “memorializ[e]” Ms. Wolkoff’s

“service to the First Lady.” Compl. ¶ 20; see also Compl. Ex. A at 1 (stating that Ms. Wolkoff

“hereby understand[s], acknowledge[s], and agree[s]” to various commitments required by the

Office of the First Lady). The Government—indisputably a sophisticated party—knew how to

include language regarding the duration or survival of the terms, given that Section I of the

Agreement specified a September 30, 2018 expiration date for certain other provisions. See

Compl. Ex. A ¶ I. Nevertheless, the Government did not include any period of survival for the

confidentiality provisions. Any ambiguity created by the failure of the Agreement to specify a

term for the confidentiality provisions or to specify that those provisions would survive termination

therefore must be construed against the Government, such that the confidentiality provisions did

not survive termination. See, e.g., 3E Mobile, LLC v. Global Cellular, Inc., 2019 WL 1253455, at



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*13 (D.D.C. Mar. 19, 2019) (declining to read a choice-of-law provision into a contract where “it

is clear that the parties knew how to choose a particular state’s law to govern [the] contract,” but

did not do so); Joel Popkin & Co. v. Wharton Econometric Forecasting Assoc., Inc., 659 F. Supp.

343, 348 (D.D.C. 1987) (finding contract unambiguous where “the Agreement indicates that the

parties knew how” to use certain language, but did not do so); Lehndorff U.S. Equities, Inc. v.

George Hyman Constr. Co., 1992 WL 135907, at *8 (D.D.C. May 27, 1992) (declining to allow

recovery of attorneys’ fees where “the contract makes clear that the parties knew how to specify”

a right to such recovery, but did not do so). The Complaint thus should be dismissed because the

Agreement terminated before any alleged breach occurred.

II.    The Agreement Is Void for Lack of Consideration

       The Complaint also should be dismissed because the Agreement is void for lack of

consideration. “[C]onsideration or mutuality of obligation is a requirement for the formation of a

bilateral contract. When there is no consideration or mutuality of obligation, courts within the

District of Columbia have held that equity cannot be invoked to enforce a contract that lacks

consideration.” Ghahremani v. Uptown Partners, LLC, 2005 WL 3211463, at *16 (D.D.C. Nov.

13, 2005) (dismissing claims for breach of contract and unjust enrichment) (citations omitted); see

also Osseiran v. Int’l Fin. Corp., 950 F. Supp. 2d 201, 209 (D.D.C. 2013) (“An exchange of

promises suffices so long as each party undertook to do something it would otherwise have no

legal obligation to do.”) (internal quotation marks and citation omitted).

       Here, there is no allegation that Ms. Wolkoff received consideration for her services. As

noted above, the Agreement made clear that Ms. Wolkoff was a “volunteer,” not a government

employee, and that she would offer her services “without the expectation of receiving any

compensation . . . .” Compl. Ex. A ¶ I.       That makes sense because the Agreement was a




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“gratuitous” arrangement. See Haney v. Marriott Int’l, Inc., 2007 WL 2936087, at *9 (D.D.C.

Oct. 9, 2007) (finding contract to be “unenforceable gratuitous promise” where plaintiff did not

“offer[] to perform or forbear from any action”) (emphasis added).

       That also means, however, that the Agreement legally was void because it contained no

mutuality of obligation; it did not obligate the Office of the First Lady to do anything. Although

almost every paragraph in the Agreement contained promises about what Ms. Wolkoff “shall” do

or not do, there were no reciprocal promises made by the Office of the First Lady. Even the

confidentiality provisions stated that Ms. Wolkoff “may” gain access to information “in the course

of performing [her] gratuitous services,” without actually obligating the Office of the First Lady

to provide any such information. Compl. Ex. A ¶ V.

       According to the Complaint, the only “consideration” Ms. Wolkoff received under the

Agreement was “access to the White House and sensitive information[.]” Compl. ¶ 23. Under the

Agreement, however, that access was not promised to Ms. Wolkoff, and in any event, the

Agreement stated that such access would be provided to Ms. Wolkoff, not for her services, but

specifically for her agreement (i) to release the United States from any and all claims, Compl. Ex.

A ¶ X, and (ii) to protect the security of the “White House communications and email systems,”

Compl. Ex. A ¶ XIII. Although the Complaint alleges that Ms. Wolkoff received additional

consideration in the form of a “personal and professional opportunity,” Compl. ¶ 24, that is

inconsistent with the plain language of the Agreement.

       Moreover, although the Government styles Count One of the Complaint as a breach of

contract claim, which is a legal and not equitable claim, the Government seeks only equitable

remedies, namely a constructive trust seizing any proceeds from Ms. Wolkoff’s book. See Compl.

¶¶ 49–50; see also Compl. ¶¶ 51–58; Compl. at 15 (“Prayer for Relief”). Equitable remedies




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cannot be invoked for a contract, like the Agreement here, that lacks consideration or mutuality of

obligation. See Ghahremani, 2005 WL 3211463, at *16. Accordingly, the Agreement is void for

lack of consideration, and the Government cannot obtain the relief it seeks.

III.    The Confidentiality Restrictions in the Agreement Violate Ms. Wolkoff’s Freedom of
        Expression and Are Unconstitutional

        Finally, the Complaint should be dismissed because the confidentiality restrictions in the

Agreement violate Ms. Wolkoff’s First Amendment rights and are unconstitutional. A government

restriction on speech must “protect a substantial government interest unrelated to the suppression

of free speech,” and be “narrowly drawn to ‘restrict speech no more than is necessary to protect

the substantial government interest.’” McGehee v. Casey, 718 F.2d 1137, 1142–43 (D.C. Cir.

1983) (citations omitted). The Government cannot properly use non-disclosure agreements to

censor government employees or service providers in matters not involving classified information

or national security interests. See id. at 1141 (“The government has no legitimate interest in

censoring unclassified materials”); Bolton, 2020 WL 5866623, at *8 (“government may not

prevent [Defendant] from publishing unclassified materials”); Nat’l Fed’n Of Fed. Emp. v. United

States, 695 F. Supp. 1196, 1205 (D.D.C. 1988) (finding unconstitutional government’s restriction

on publication of undefined, “classifiable” information). Since the Complaint does not—and

cannot—allege that Ms. Wolkoff even had access to classified or national security-related

information, let alone disclosed such information in her book, the Government cannot establish a

legitimate and substantial interest in restricting Ms. Wolkoff’s freedom of expression.

        Perhaps recognizing this fatal flaw in its claims, the Government attempts to contort the

First Lady’s personal interest in limiting negative publicity into a governmental interest in

protecting the internal deliberations of the executive branch (which appears to be a claim of

executive privilege, without actually using the phrase). See Compl. ¶¶ 13–18. The Government’s



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position is meritless because no such governmental interest can be asserted on behalf of a person

who is not a government official.

       No matter what role the First Lady has fulfilled “historically,” Compl. ¶ 13, the Complaint

rightfully does not—and cannot—claim that the First Lady is an executive branch official merely

by virtue of her marriage to the President. She is not an employee of the United States government,

she has no official responsibilities, and she “does not draw a salary for performing any of [her]

functions[.]” Compl. ¶ 17. That she is entitled to Secret Service protection, Compl. ¶ 14, helps

plan state dinners for visiting foreign dignitaries, Compl. ¶ 15, or “supervise[s] renovations and

improvements to the White House,” Compl. ¶ 16, is of no consequence, except to show that the

First Lady undertakes certain high-profile ceremonial tasks relating to matters of public concern

about which private citizens are entitled to speak with the full protection of the First Amendment.

See, e.g., Monsoor v. Cty. of Albemarle, 189 F. Supp. 2d 426, 435–37 (W.D. Va. 2002) (finding

unconstitutional employment agreement restricting government employee’s right to criticize

superiors).

       Further, even if the Government could establish a legitimate, substantial interest in

restraining Ms. Wolkoff’s freedom of expression (which it cannot), there is nothing “narrowly

drawn” about the purported restrictions at issue. The vague and overbroad language in the

Agreement—which purports to prohibit the disclosure of, among other things, all information

received from the government, any information “about the First Family,” and all “other

information” about which she may become aware in her volunteer role—is not narrowly drawn.

See Trump v. Trump, et al., 128 N.Y.S.3d 801, 809 (N.Y. Sup. Ct. July 13, 2020) (“[T]he

[confidentiality] clause is so overly broad, as to be ineffective.”); see also Moonin v. Tice, 868




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F.3d 853, 866–68 (9th Cir. 2017) (finding regulation requiring police officers to obtain permission

before speaking to media overbroad and unconstitutional); see id. at 871, n.9 (collecting cases).

                                        CONCLUSION

       For the foregoing reasons, Ms. Wolkoff respectfully requests that the Court dismiss the

Complaint in its entirety and with prejudice.



 Dated: December 21, 2020                             Respectfully Submitted,

                                                      PAUL, WEISS, RIFKIND, WHARTON
                                                        & GARRISON LLP


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